On application of the principle embodied in the Code, § 37-119, that "Equity gives no relief to one whose long delay renders the ascertainment of the truth difficult," and the doctrine that where the lapse of time has been sufficient to create or justify a presumption against the existence of the validity of the plaintiff's right, or to justify a presumption that if the plaintiff was ever possessed of a right it had been abandoned, waived, or satisfied, it was not erroneous to dismiss the action on the ground that the plaintiffs were guilty of laches.
                     No. 14250. SEPTEMBER 21, 1942.
Bryan and others, alleging that they were certain of the heirs at law of William Goble, whose will was probated in 1883, filed, on February 18, 1942, their petition against certain other heirs of Goble, and against a third party to whom the other defendants had leased certain mineral interests. The prayers were, that the defendants make an accounting for the profits of the interests so leased, it being averred that they have tested said leased interests for minerals, have paid and collected rents and profits, and have refused to account for them; that the lands be partitioned among the heirs at law of William Goble; that a receiver be appointed; that the will of Goble be construed to mean that all mineral interests and all necessary rights for the mining and processing of such minerals be the equal and joint property of the eight children of Goble, their heirs, devisees, and assigns, and that such further relief be granted as seems right and just in the premises. The petitioners averred that the lands in question were the property of William Goble at the time of his death, and, having in items 3, 4, 5, and 6 of his will devised these lands to his children, he made the following provision as to the mineral interests: "I reserve all the mineral interest of every kind of the land described in items 3rd, 4th, 5th, and 6th, from any one portion of my heirs to be equally divided amongst all of my heirs." The petition further states that the executors of the will were discharged more than fifty years ago, and no administration has ever been appointed on said estate.
It affirmatively appears from the petition that one of the plaintiffs, Mrs. Nancey Wofford, on January 11, 1911, conveyed by warranty deed to W. F. Goble and W. E. Goble for one thousand dollars, without any reservation of any kind of interest therein, a *Page 564 
portion of the lands owned by William Goble at the time of his death, and that on August 25, 1883, for a valuable consideration therein stated, she had conveyed to other grantees other portions of these lands. It is alleged that Mrs. Bryan, one of the daughters, who is the mother of three of the plaintiffs, Tom Bryan, J. M. Bryan, and Mrs. C. L. Ellis, conveyed by warranty deed in 1897, for a consideration of sixteen hundred dollars, other portions of these lands. Mrs. Ina Griffith England, another plaintiff, a daughter of Mrs. Griffith, one of William Goble's daughters, conveyed on October 29, 1926, for a recited consideration of twenty-seven hundred dollars, a portion of the lands that passed under William Goble's will. The other plaintiffs are the children of W. E. Goble, who was a son of William F. Goble, who was a son of William Goble, the testator. The petition discloses a warranty deed executed by William F. Goble and four of his brothers and sisters to Joe H. Goble, for a recital consideration of twelve hundred dollars, dated August 25, 1883. All of the foregoing conveyances included the entire fee, and each covered a portion of the William Goble lands.
The amended petition further avers, that immediately following the probate of the will the devisees "took possession of their surface interest, but the mineral interests in said lands and separate tracts thereof have never been in actual . . possession;" that Henry, Joe, and John Goble and his two sons, Ben and Dan, have deeded and leased to Willingham-Little Stone Company their interest in the minerals in land lots 143 and 142 in the twelfth district and third section of Gilmer County, Georgia, the deed of Henry Goble being dated September 8, 1897, as shown by record in deed book 14, page 307, of the clerk's office; that since said date, Henry, Joe, John, Ben, and Dan Goble and Willingham-Little Stone Company, as tenants in common of said minerals, have at different intervals tested for said minerals, and paid and collected rents, issues, and profits on and from said mineral interests, and all of said parties have failed and refused to account to petitioners and the other owners and tenants in common of said mineral interests and rights for their parts thereof, and all of said lessors and lessees are due to account to all of the other parties herein for their pro rata part of said mineral interests, rents, and profits now held by them or appropriated therefrom, and said amount so due should be set off against the interests of said parties. *Page 565 
The three persons here first named are sons of William F. Goble, deceased, who was a grantee and a grantor, respectively, in some of the deeds mentioned.
The defendants' demurrers were sustained and the action was dismissed. The plaintiffs excepted.
The suit was brought on the theory that none of the mineral interests passed under the several devises, and the title to these therefore is held in equal proportion by the heirs of the testator. It affirmatively appears from the petition that all the parties plaintiff, either in person or through the ancestor in whose right they claim, had conveyed, before the filing of this suit, all their rights to the mineral interests in various parcels of the entire tract. In doing so they received in each instance a money consideration. It is true that the description in their deeds named only the land, but necessarily the sale of the land without any reservation whatever carried with it the mineral interests. It is also true that it does not appear what a fair and reasonable proportion of the purchase-money received by them would represent these mineral interests. The petition alleges that such of the mineral interests as passed under the deeds above referred to were of small value, the most valuable being located on other portions of the land; but what that value is they do not aver, or they are silent as to what is to become of the consideration received by them and those under whom they claim. There is no suggestion that those sales be repudiated, and yet their prayer is that a partition of the lands lately belonging to William Goble be had; not a part of them, but all of them. Having from the conveyances above referred to received the money paid as a consideration therefor in a sale that included the mineral interests in the lands therein described, they file this suit asking for an equitable partition. In an amendment they add: "All of said defendants should be required to account to petitioners for their pro rata portions thereof, and the same set off against any amounts that a court of equity may find due any of said defendants by reason of any purported deeds or conveyances of any of petitioners or their ancestors, for which their interests may be liable. Petitioners further say that *Page 566 
when the rights and equities between the parties hereto are determined petitioners will be entitled, not only to their respective shares of the values of the minerals in the lands of William Goble as set out herein, but to a judgment for rents and royalties collected as aforesaid."
Sixty-eight years ago, immediately after the probate of William Goble's will, his devisees took possession of the lands devised to them. The petition says that they took possession of "their surface interest," but that the mineral interest was not possessed by them. The inference sought to be drawn from this is that possession of land by occupying the surface of the earth does not give one possession of what is underneath. The fact remains, however, that each one of the devisees then entered into possession of the land devised to him or to her. These several devisees, beginning in August, 1883, and from time to time thereafter, undertook to convey by deed portions of their respective devises. There are, in all, seven of these deeds, the last one bearing date in December, 1929, and in none of them are the mineral rights excepted. For all these years every one who claimed under William Goble, who undertook to deal with the land devised, treated the mineral rights as belonging to the heir who took under a particular devise, respectively. It was so dealt with by that one of the plaintiffs who was named as a devisee, and by the ancestors of the other plaintiffs, the latter standing in the shoes of other devisees. Sixty-eight years after each devisee took possession of the land devised, and twelve, fifteen, thirty-one, thirty-five, forty-four; and sixty-eight years, respectively, before the filing of this suit, these complainants and those in whose shoes they stand sold their land, their conveyances also conveying, not excepting, the mineral rights. After all this water went over the dam, all flowing in the same direction, they come into a court of equity, praying for an equitable partition of the mineral interests, for an injunction and receiver, and for an accounting, and that the court adjudicate that all mineral interests and all necessary rights for the mining and processing thereof be the equal and joint property of the eight children of William Goble, their heirs, devisees, and assigns.
"Equity gives no relief to one whose long delay renders the ascertainment of the truth difficult, though no legal limitation bars the right." Code, § 37-119. While most frequently the bar of *Page 567 
laches is applied in instances where the long delay has rendered the ascertainment of the truth difficult, the doctrine does not rest on that premise alone. As was well stated in Citizens Southern National Bank v. Ellis, 171 Ga. 717, 719
(156 S.E. 603): "In determining whether there has been laches, various things are to be considered, notably the duration of the delay in asserting the claim, the sufficiency of the excuse, if any, offered in extenuation thereof, whether during the delay the evidence of the matters in dispute has been lost or become obscure, whether plaintiff or defendant was in possession of the property in suit during the delay, whether the party charged with laches had an opportunity to act sooner, and whether he acted at the first opportunity; and the delay must not be such as to preclude the court from arriving at a safe conclusion as to the truth of the matters in controversy, and thus make the doing of equity either doubtful or impossible, due to loss or obscuration of evidence of the transaction in issue, or where the lapse of time has been sufficient to create or justify a presumption against the existence or validity of the plaintiff's right, or to justify a presumption that, if the plaintiff was ever possessed of a right, it had been abandoned, waived, or satisfied." The period from which laches is determined is fixed in equity cases according to the circumstances of each case. Eller v.McMillan, 174 Ga. 729 (163 S.E. 910). A case much in point is Baker v. Baker, 134 Ga. 138 (67 S.E. 541). It was there ruled that the petition showed that the cause of action arose in 1868, when the plaintiff was ten years of age; that no suit was filed by him to assert his alleged rights until 1905; and that no sufficient excuse was offered to explain his laches in not earlier discovering and asserting his alleged rights. The court held that "Such long delay, unexcused, would warrant the court in dismissing the petition as asserting a stale demand."
The petition does not disclose the age of the plaintiffs. No minority of any one is shown. The rights which they assert came into being sixty-eight years ago. That length of time, aided by the allegation that immediately on the probate of the will the several devisees went into possession of the land, and commencing that very year, repeated time and again, the devisees selling the entire fee, in some instances a devisee being a grantor and in others a grantee, was enough to justify a presumption that if plaintiffs ever possessed the rights claimed, they had been abandoned, waived, or *Page 568 
satisfied, in view of the fact that all the devisees, save one, have long since died, the sole survivor being one of the plaintiffs who in the year 1883 signed a deed conveying the fee to a part of these lands, and to another part in the year 1911. The plaintiffs sought relief in a court of equity. The defendants by their demurrers invoked the equitable doctrine of laches. The court did not err in dismissing the action.
Judgment affirmed. All the Justices concur.